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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )       CRIMINAL NO. 21-mj-00053(GMH)
                                             )
                                             )
CHRISTINE PRIOLA                             )

      NOTICE TO THE COURT OF DEFENDANT’S POSITION AT PRELIMINARY HEARING


              COMES NOW counsel for defendant Ms. Christine Priola, upon request from the

       Assistant United States Attorney, Jolie Zimmerman, and files this position with the Court.

              Defendant hereby waives her right to a speedy trial in this cause. Undersigned

       defense counsel has spoken to lead counsel for Ms. Priola, Charles Langmack, who has

       spoken with defendant Priola and she has agreed to exclude time under the Speedy Trial

       Act until such time that the Court sets another hearing. Moreover, the undersigned parties

       agree that such an exclusion is proper. The ends of justice will be served by excluding

       time under the Speedy Trial Act, and those ends of justice outweigh the Defendant’s

       interests and the interest of the public in a speedy trial because the delay will provide the

       completion of an examination, the results of which may substantially impact the ability of

       the parties to resolve this case short of trial. See 18 U.S.C. § 3161(h)(7)(B)(iv).

              Furthermore, Ms. Priola waives her right to a preliminary hearing. Likewise, lead

       counsel Charles Langmack has discussed same with Ms. Priola and she agrees to waive

       this right.



                                             Respectfully submitted,
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                                            KIRA ANNE WEST

                                     By:            /s/
                                            Kira Anne West
                                            DC Bar No. 993523
                                            712 H Street N.E., Unit #509
                                            Washington, D.C. 20002
                                            Phone: 202-236-2042
                                            kiraannewest@gmail.com


                                    CERTIFICATE OF SERVICE

       I hereby certify on the 8th day of February, 2021 a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record and in pursuant to the

rules of the Clerk of Court.

                                                       /S/
                                                    Kira Anne West
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